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                                                                   April 15, 2019

           Via E-mail


           Judge William Alsup
           United States District Court
           Northem District of California
           450 Golden Gate Avenue, Courtroom 12
           19th Floor
           San Francisco, CA 94102


                               Re:      Confidentiality of the Monitor's Reports

          Dear Judge Alsup:

                 The Federal Monitor respectfully submits this letter to address the Court's statements in
          court on April 2, 2019 regarding the confidentiality of the interim Federal Monitor reports. The
          Federal Monitor does not believe it is appropriate to remove the confidential treatment of the
          Monitor's interim reports. The original Judgment and Commitment ^der ("J&C") in this case
          issued by Judge Henderson ordered that interim reports by the Federal'Monitor be submitted only
          to the Probation Officer, the United States Attorney's Office, to PG«&E and to PG&E's Board of
          Directors. (Dkt. 922 at 13.) The J&C stated that at the conclusion of the Monitor's work, the
          Monitor shall prepare a separate, final written report for public release. {Id. at 14.) The J&C
          further noted that in that final public report, the Monitor may take whatever steps the Monitor
          deemed appropriate to protect the confidentiality of individuals. {Id.)

                  This understanding has guided the Monitor's work and interactions with PG&E and its
          employees. Accordingly, the Monitor has represented to employees and contractors with whom
          his team speaks at PG&E that the interim reports and conversations \^th employees and others are
          confidential, and that only a final report would be made public. Such representations have fostered
          candid and open dialogue between the Monitor team and employees of PG&E. The Monitor team
          does not want to go back on its representations and risk losing or undermining the trust and
          confidence of individuals who otherwise have felt empowered and willing to engage fi-ankly with
          the Monitor team. That trust and candor are critical to the work completed thus far and the ongoing
          progress of the Monitor's work.




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